               Case 2:25-mj-30313-DUTY ECF No. 9, PageID.51 Filed 05/14/25 Page 1 of 1
(EDMI UHY) Consent Order of Detention Pending Trial



                                UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Eastern District of Michigan

                   United States of America                           )
                              v.                                      )       Case No. 25-30313
                                                                      )
           Ammar Abdulmajid-Mohamed Said
                                                                      )
                                                                      )


                 CONSENT ORDER OF DETENTION PENDING TRIAL/HEARING

            Pursuant to the Bail Reform Act, 18 U.S.C. §3142 et. seq., the United States has moved for detention of
the defendant and defendant is entitled to a timely hearing pursuant to 18 U.S.C. §3142(f). However, Defendant,
in open court and with the advice of counsel, agrees to remain in custody and consents to detention, reserving his
right to a full detention hearing before the magistrate judge. Therefore, no hearing will be held, no adverse findings
are made against defendant, and detention is ordered based upon the defendant’s consent. :KHQHYHUDGHIHQGDQW
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KHDULQJ

                                                       Directions Regarding Detention

           The defendant is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States Marshal
for the purpose of an appearance in connection with a court proceeding.



Date: May 14, 2025                                                    s/Elizabeth A. Stafford
                                                                      Judicial Officer’s Signature


                                                                      Elizabeth A. Stafford, U.S. Magistrate Judge
                                                                      Printed name and title
